^JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet                                                               U.S. District Court - District ofMassa^usetts

Place of Offense:                            Category No.        JL                    Investigating Agency

City       Lawrence                                      Related Case Information:


County         Essex                                     Superseding Ind./ Inf.                          Case No.
                                                         Same Defendant                            New Defendant
                                                         Magistrate Judge Case Number
                                                         Search Warrant Case Number            18-mi-2472-MBB
                                                         R 20/R 40 from District of

Defendant Information:


Defendant Name           Jose Hemandez                                              Juvenile:              •    Yes [2 No
                         Is this person an attorney and/or amember of any state/federal bar:               •    Yes          No
Alias Name

Address                   rCitv & Stated Lawrence, MA


Birth date(Yronly):             SSN (last4#): ^^3"^          Sex M           Race: Hispanic            Nationality: USA

Defense Counsel if known:                                                              Address


Bar Number

U.S. Attorney Information:

AUSA          PhilipC. Cheng                                                Bar Number if applicable

Interpreter:             | | Yes        [3^°                     List language and/or dialect:
Victims:                 | [Yes        No Ifyes, are there multiple crime victims under 18 USC§3771{d)(2)              Yes        j |No

Matter to be SEALED:                   [7] Yes          \Z\ No
          171Warrant Requested                                Regular Process                      •   In Custody
Location Status:


Arrest Date


[^Already in Federal Custody as of                                                       in


O Already in State Custody at                                              I [Serving Sentence            I     waiting Trial
I IOn Pretrial Release: Ordered by:                                                           on



Charging Document:                      I IComplaint                  I IInformation                   0 Indictment
Total #of Counts:                       | ]Petty                      I IMisdemeanor                   [7] Felony —
                                                  Continue on Page 2 for Entry of U.S.C. Citations

[7]       I hereby certify that the case numbers ofany prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:      09/26/2018                                Signature of AUSA:
